              Case 3:22-cv-03131-JCS Document 22 Filed 08/05/22 Page 1 of 44



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 8
     Attorneys for Defendant
 9   PATREON, INC.

10                                     UNITED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12

13   BRAYDEN STARK, JUDD OOSTYEN,                         Case No. 3:22-cv-03131-JCS
     KEVIN BLACK, and MARYANN OWENS,
14   individually and on behalf of all others similarly
     situated,                                            DEFENDANT PATREON, INC.’S
15                                                        REQUEST FOR JUDICIAL NOTICE
                         Plaintiffs,
16

17          v.

18
     PATREON, INC.,
19
                          Defendant.
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                                                                                REQUEST FOR JUDICIAL NOTICE
                                                                                 CASE NO. 3:22-CV-03131-JCS
              Case 3:22-cv-03131-JCS Document 22 Filed 08/05/22 Page 2 of 44



 1   TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:

 2          Pursuant to Federal Rule of Evidence 201(b), Defendant Patreon, Inc. (“Patreon”) respectfully

 3   requests that this Court take judicial notice of the documents listed below, true and correct copies of

 4   which are attached, in support of Patreon’s concurrently filed Motion to Dismiss Complaint.

 5          Rule 201 allows the Court to take judicial notice of facts that are not subject to reasonable

 6   dispute where the facts “can be accurately and readily determined from sources whose accuracy cannot

 7   reasonably be questioned.” Fed. R. Evid. 201(b)(2). In evaluating a motion to dismiss a complaint, a

 8   court properly can take judicial notice of a document, even if it is not attached to the complaint, “if the

 9   plaintiff refers extensively to the document or the document forms the basis of the plaintiff’s claim.”

10   United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003); see also Branch v. Tunnell, 14 F.3d 449, 453

11   (9th Cir. 1994) (“We have said that a document is not ‘outside’ the complaint if the complaint

12   specifically refers to the document and if its authenticity is not questioned.”), overruled on other

13   grounds by Galbraith v. Cnty. of Santa Clara, 307 F.3d 1119 (9th Cir. 2002).

14          Patreon respectfully requests that this Court take judicial notice of the following documents,

15   which Plaintiffs refer to repeatedly in their Complaint (see Dkt. 1, ¶¶ 47, 85), which underlie the

16   Plaintiffs’ claims (id.), and the accuracy of which cannot reasonably be questioned:

17          1.      Patreon’s Terms of Use, in the period covering February 2019 to the present (the period

18                  during which the Plaintiffs have had a Patreon account (see Dkt. 1, ¶¶ 18, 19, 24, 27)). A

19                  true and correct copy of Patreon’s Terms of Use, effective and updated in this period, is

20                  attached as Exhibits 1 through 4 to the Declaration of Tyler Layton (“Layton

21                  Declaration”), which is attached as Exhibit A.

22          2.      Patreon’s Privacy Policy, in the period covering February 2019 to the present. A true

23                  and correct copy of Patreon’s Privacy Policy, effective and updated in this period, is

24                  attached as Exhibits 5 through 10 to the Layton Declaration (attached as Exhibit A). The

25                  Privacy Policy is incorporated by reference and hyperlink into the Patreon Terms of Use.

26          3.      Patreon’s Cookie Policy, in the period covering February 2019 to the present. A true

27                  and correct copy of Patreon’s Cookie Policy, effective in the period from April 2019

28                  through the present is attached as Exhibit 11 to the Layton Declaration (attached as
                                                          1
                                                                                     REQUEST FOR JUDICIAL NOTICE
                                                                                      CASE NO. 3:22-CV-03131-JCS
            Case 3:22-cv-03131-JCS Document 22 Filed 08/05/22 Page 3 of 44



 1                Exhibit A). Before April 2019, Patreon’s Cookie Policy was part of the Patreon Privacy

 2                Policy. See Layton Declaration ¶ 18. The Cookie Policy is incorporated by reference

 3                and hyperlink into Patreon Terms of Use. Id.

 4     Patreon respectfully requests that the Court take judicial notice of these documents in full.

 5

 6   Date: August 5, 2022                                   THE NORTON LAW FIRM PC

 7
                                                            /s/ Nathan Walker
 8                                                          Nathan Walker
 9                                                          Attorneys for Defendant
                                                            PATREON, INC.
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                                                                                   REQUEST FOR JUDICIAL NOTICE
                                                                                    CASE NO. 3:22-CV-03131-JCS
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     EXHIBIT A
              Case 3:22-cv-03131-JCS Document 22 Filed 08/05/22 Page 5 of 44



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     Telephone: (510) 906-4900
 8
     Attorneys for Defendant
 9   PATREON, INC.

10                                     UNITED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12

13   BRAYDEN STARK, JUDD OOSTYEN,                         Case No. 3:22-cv-03131-JCS
     KEVIN BLACK, and MARYANN OWENS,
14   individually and on behalf of all others similarly
     situated,                                            DECLARATION OF TYLER LAYTON
15                                                        IN SUPPORT OF DEFENDANT
                         Plaintiffs,                      PATREON, INC.’S REQUEST FOR
16
                                                          JUDICIAL NOTICE
17          v.

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     PATREON, INC.,
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                          Defendant.
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                                         DECLARATION OF TYLER LAYTON IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE
                                                                                    CASE NO. 3:22-CV-03131-JCS
              Case 3:22-cv-03131-JCS Document 22 Filed 08/05/22 Page 6 of 44



 1          I, Tyler Layton, declare:

 2          1.      I submit this declaration in support of Patreon’s Request for Judicial Notice. The

 3   statements in this declaration are based on personal knowledge and follow reasonable investigation. If

 4   called upon as a witness to testify to the truth of these statements, I could do so competently under oath.

 5          2.      Patreon is a company that provides an online platform that allows individual fans, known

 6   as “patrons,” to provide financial support to their favorite artists, called “creators,” on an ongoing basis.

 7          3.      I have been employed at Patreon as Senior Legal Counsel since October 2021. In my

 8   role as Senior Legal Counsel, I serve as in-house legal counsel for Patreon.

 9          4.      As part of my job at Patreon, I am familiar with current and past versions of Patreon’s

10   Terms of Use, Privacy Policy, and Cookie Policy. I am also familiar with how Patreon archives

11   historical versions of its Terms of Use, Privacy Policy, and Cookie Policy in the ordinary course of

12   business, and I understand how to retrieve historical versions of these documents.

13          5.      As detailed below, Patreon periodically updates its Terms of Use, Privacy Policies, and

14   Cookie Policies. The terms of each iteration of Patreon’s Terms of Use, Privacy Policies, and Cookie

15   Policies are substantially the same with respect to the matters for which these documents are cited in

16   Patreon’s Motion to Dismiss.

17   Terms of Use

18          6.      Attached as Exhibit 1 is a true and correct copy of Patreon’s current Terms of Use,

19   effective since October 15, 2021. A copy of the current Terms of Use is publicly available at

20   https://www.patreon.com/policy/legal.

21          7.      Attached as Exhibit 2 is a true and correct copy of Patreon’s Terms of Use, with an

22   effective date of July 1, 2020. A copy of this version of the Terms of Use is publicly available at

23   https://www.patreon.com/policy/oldterms.

24          8.      Attached as Exhibit 3 is a true and correct copy of Patreon’s Terms of Use, with effective

25   dates of December 20, 2019 (for new users) and January 1, 2020 (for existing users).

26          9.      Attached as Exhibit 4 is a true and correct copy of Patreon’s Terms of Use, with an

27   update date of December 18, 2018.

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                                            DECLARATION OF TYLER LAYTON IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE
                                                                                       CASE NO. 3:22-CV-03131-JCS
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 1   Privacy Policy

 2          10.       Patreon’s Privacy Policy is incorporated by reference and hyperlink into Patreon Terms

 3   of Use. See, e.g., Exhibit 1 at p.2 (“By using Patreon you agree to these terms and to the other policies

 4   we post. Please read them carefully and let us know if you have any questions. Please read them

 5   carefully and let us know if you have any questions. For information about our data practices, please see

 6   our Privacy Policy, including our Cookie Policy.”) (blue and underline, and hyperlinked, in original).

 7          11.       Attached as Exhibit 5 is a true and correct copy of Patreon’s current Privacy Policy,

 8   effective since July 15, 2022. A copy of the current Privacy Policy is publicly available at

 9   https://privacy.patreon.com/policies.

10          12.       Attached as Exhibit 6 is a true and correct copy of the Patreon Privacy Policy, with an

11   effective date of November 18, 2020. A copy of this version of the Privacy Policy is publicly available

12   at https://privacy.patreon.com/policies?name=patreon-privacy-policy-past-version.

13          13.       Attached as Exhibit 7 is a true and correct copy of the Patreon Privacy Policy, with an

14   effective date of July 24, 2020.

15          14.       Attached as Exhibit 8 is a true and correct copy of the Patreon Privacy Policy, with an

16   effective date of December 31, 2019.1

17          15.       Attached as Exhibit 9 is a true and correct copy of the Patreon Privacy Policy, with an

18   effective date of April 29, 2019.

19          16.       Attached as Exhibit 10 is a true and correct copy of the Patreon Privacy Policy, with an

20   effective May 25, 2018.

21   Cookie Policy

22          17.       Patreon’s Cookie Policy is incorporated by reference and hyperlink into Patreon’s Terms

23   of Use. See, e.g., Exhibit 1 at p.2.

24

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26
     1
27     This version of the Privacy Policy states that it is effective on December 31, 2019 at the bottom, but
     states “Effective Date: October 15, 2019” at the top. I understand that the “October 15, 2019” date was
28   included in this version of the Privacy Policy in error.
                                                             2
                                             DECLARATION OF TYLER LAYTON IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE
                                                                                        CASE NO. 3:22-CV-03131-JCS
              Case 3:22-cv-03131-JCS Document 22 Filed 08/05/22 Page 8 of 44



 1
            18.    Attached as Exhibit 11 is a true and correct copy of Patreon’s current Cookie Policy,
 2
     which has been in effect since December 31, 2019. Before December 31, 2019, Patreon’s cookie policy
 3
     was part of Patreon’s Privacy Policy.
 4
            I declare under penalty of perjury under the laws of the United States that the statements in this
 5
     Declaration are true and correct to the best of my knowledge, and that this Declaration was executed on
 6
     August 5, 2022, in Oakland, California.
 7

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 9                                                                   Tyler Layton
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                                             DECLARATION OF TYLER LAYTON IN SUPPORT OF REQUEST FOR JUDICIAL NOTICE
                                                                                        CASE NO. 3:22-CV-03131-JCS
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      EXHIBIT 1
Case 3:22-cv-03131-JCS Document 22 Filed 08/05/22 Page 10 of 44
Case 3:22-cv-03131-JCS Document 22 Filed 08/05/22 Page 11 of 44




      EXHIBIT 2
      Case 3:22-cv-03131-JCS Document 22 Filed 08/05/22 Page 12 of 44




const { fields } = this.state
    return (
       <Box>
           {!hideTitle && (
              <Text
                 align={Text.Align.Center}
                 size={Text.Size.Lg}
                 el={Text.Element.H1}
                 font={Text.Font.Title}
                 weight={Text.Weight.Bold}
                 intl
                 intl-description="Title of signup form"
              >
                 Sign up
              </Text>
           )}
           <Card>
              {error && (
                 <Text
                    align={Text.Align.Center}
                    el={Text.Element.P}
                    color={Text.Color.Error}
                 >
                    {error}
                 </Text>
              )}
              <Box mv={1}>
                 {/* onClick event is assigned by `googleButtonInit` */}
                 <div ref={this.googleButtonRef}>
                    <Button
                       icon={IconSocialGoogle}
                       color={Button.Color.White}
                       size={Button.Size.Md}
                       iconProps={{
                          size: Button.Icon.Size.Xs,
                          fill: [
                               Icon.Fill.GoogleRed,
                               Icon.Fill.GoogleYellow,
                               Icon.Fill.GoogleGreen,
                               Icon.Fill.GoogleBlue,
                          ],
                       }}
                       variant={Button.Variant.Outline}
                       onClick
                       fluid
                       block
                       disabled={!renderAsClient || isLoading}
       Case 3:22-cv-03131-JCS Document 22 Filed 08/05/22 Page 13 of 44




                      intl
                      intl-description="CTA to signup on Patreon with a Google account"
                  >
                      Sign up with Google
                   </Button>
                </div>
             </Box>
             {!facebookEnabled && (
                <Button
                   /* class attr allows Mozilla Facebook Container to add a badge, see
GROW-845 */
                   className="FacebookConnectButton"
                   icon={IconSocialFacebook}
                   color={Button.Color.White}
                   size={Button.Size.Md}
                   iconProps={{
                      size: Button.Icon.Size.Xs,
                      fill: [Icon.Fill.FacebookBlue],
                   }}
                   onClick={this.submitFacebookSignupHandler}
                   variant={Button.Variant.Outline}
                   fluid
                   block
                   disabled={!renderAsClient || isLoading}
                   intl
                   intl-description="CTA to signup on Patreon with a Facebook account"
                >
                   Sign up with Facebook
                </Button>
             )}
             <Box
                pt={1}
                display={Box.Display.Flex}
                verticalAlign={Box.VerticalAlign.Middle}
                alignItems={Box.AlignItems.Center}
             >
                <Box flexGrow={1} bb />
                <Box ph={1}>
                   <Text
                      align={Text.Align.Center}
                      el={Text.Element.P}
                      color={Text.Color.Gray2}
                      intl
                      intl-description="Separator text, creator has an option to signup with
social providers, or provide their email and name below"
                      intl-screenshot="signup-option-separator"
                   >
            Case 3:22-cv-03131-JCS Document 22 Filed 08/05/22 Page 14 of 44




                           or
                        </Text>
                    </Box>
                    <Box flexGrow={1} bb />
                 </Box>
                 {localError && (
                    <Banner variant={Banner.Variant.Critical} inline>
                        {localError}
                    </Banner>
                 )}
                 <Form
                    buttonText={__('Sign up', undefined, '')}
                    onSubmit={this.submitSignupHandler}
                    inputs={fields}
                    isLoading={
                        !renderAsClient ||
                        isLoading ||
                        isVerifyEmailInProgress
                    }
                    {...this.props.reform.signup}
                 >
                    <Box mv={2}>
                        <span>
                           {showRecaptcha && (
                              <InvisibleRecaptcha
                                 ref={this.recaptchaRef}
                                 verifyCallback={this.onCaptchaVerify}
                                 sitekey={RECAPTCHA_KEY}
                              />
                           )}
                        </span>
                    </Box>
                 </Form>
                 <TermsAndPolicies />
              </Card>
              <LoginRedirect
                 handleClick={() => this.props.onChangeContext(LOGIN)}
              />
            </Box>
        )
    }
}
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      EXHIBIT 3
             Case 3:22-cv-03131-JCS Document 22
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                                                   Sign Up      08/05/22 Page 16 of 44
                                                           | Patreon

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       We use cookies to improve your experience using this site. More information        Accept



                                                                Sign up

                                                            Sign up with Google


                                                          Sign up with Facebook


                                                                      or
                           Name




                           Email




                           Confirm email




                           Password




                                    By signing up, you agree to Patreon's Terms of Use,
                                             Privacy Policy and Cookie Policy.




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8/5/22, 10:40 AM      Case 3:22-cv-03131-JCS Document 22    Filed
                                                       Sign Up      08/05/22 Page 17 of 44
                                                               | Patreon

                                                 Already have an account? Log in




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      EXHIBIT 4
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                                                           | Patreon

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                                                                Sign up

                                                            Sign up with Google


                                                          Sign up with Facebook


                                                                      or
                           Name




                           Email




                           Confirm email




                           Password




                                    By signing up, you agree to Patreon's Terms of Use,
                                             Privacy Policy and Cookie Policy.




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8/5/22, 10:37 AM      Case 3:22-cv-03131-JCS Document 22    Filed
                                                       Sign Up      08/05/22 Page 20 of 44
                                                               | Patreon

                                                 Already have an account? Log in




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      EXHIBIT 5
Skip navigation                                                   Case 3:22-cv-03131-JCS Document 22 Filed 08/05/22 Page 22 of 44
        Product        For creators        Pricing   Resources   Starter kits                                                       Find a creator                  Log in     Create on Patreon



                  We use cookies to improve your experience using this site. More information                                                                                Accept




                                                                      Terms of use
                                                                      Patreon is a membership platform that enables creators to be paid by their fans.
                                                                      One of our core behaviors is to put creators Irst, and these terms attempt to do
                                                                      that. We know that most people skim through terms of use because they're boring,
                                                                      but we have done everything we can to make this easy to get through. Above every
                                                                      section we’ll summarize the most important parts, but these summaries are not
                                                                      legally binding, so please look at the full version of the text if you have questions.




                      TOPICS                                          Welcome to Patreon!
                      Welcome to Patreon!
                                                                      TLDR: By using Patreon you agree to these terms.
                      Your account
                                                                      These are Patreon’s terms of use, and they apply to all users of the Patreon
                      Abusive conduct
                                                                      platform. “We,” “our” or “us” refers to Patreon Inc. and our subsidiaries. “Patreon”
                      All about being a creator                       refers to this platform and the services oQered by us.
                      All about being a patron                        By using Patreon you agree to these terms and to the other policies we post.
                      Patreon’s role                                  Please read them carefully and let us know if you have any questions. For
                                                                      information about our data practices, please see our Privacy Policy, including our
                      Account deletion
                                                                      Cookie Policy. We can collect and use your information in accordance with those
                      Your creations                                  policies.
                      Your third-party apps

                      Patreon’s creations

                      Indemnity

                      Warranty disclaimer                             Your account
                      Limit of liability
                                                                      TLDR: You must be at least 13 years old to register for an
                      Dispute resolution
                                                                      account. You are responsible for your account.
                      Governing law
                                                                      When you create an account you must provide us with accurate information, in
                      Everything else
                                                                      good faith, and you agree to keep your information updated if it changes.

                                                                      To create an account you must be at least 13 years old. To join a creator’s
                      Back to Policy
                                                                      membership as a patron, or provide a membership as a creator, you must be at
                                                                      least 18 years old or have your parent’s permission.

                                                                      You are responsible for anything that occurs when anyone is signed in to your
                                                                      account, as well as the security of the account. Please contact us immediately if
                                                                      you believe your account is compromised. You can learn more about security on
                                                                      our Security Policy page.




                                                                      Abusive conduct
                                                                      TLDR: Be responsible and don’t violate our policies.
                                                                      You are responsible for all activity on your account. If you violate our policies we
                                                                      may terminate your account.

                                                                      Don’t do anything illegal, abusive towards others, or that abuses our site in a
                                                                      technical way. If you are a creator raising funds on Patreon, we may be held
                                                                      accountable for what you do with those funds. As a result, we also look at what you
                                                                      do with your membership oQ our platform.

                                                                      You can Ind more detailed information in the Community Guidelines and Security
                                                                      Policy. These policies cover most issues, but if you Ind a new and creative way to
                                                                      hurt Patreon or our community we may take action to prevent it.




                                                                      All about being a creator
                                                                      TLDR: A creator is someone who oDers membership to
                                                                      patrons on Patreon. There are a lot of details here involving
                                                                      payments, fees, taxes and restrictions that you should read in
                                                                      full if you are a creator.

                                                                      Membership

                                                                      To become a creator simply launch your page to start your membership.
                                                                      Memberships are for your most passionate fans. You’re inviting them to be part of
                                                                      something exciting that gives them unique beneIts they want, like additional
                                                                      access, merchandise, exclusivity, and engaging experiences. In exchange, patrons
                                                                      pay on a subscription basis.


                                                                      Payments

                                                                      As a creator you make your membership available on Patreon, and we provide
                                                                      membership to your patrons on a subscription basis. We also handle payments
                                                                      issues such as fraud, chargebacks and resolution of payments disputes.

                                                                      We try to provide timely access to your funds, but you may occasionally
                                                                      experience delays in accessing your funds. We may also block or hold payments
                                                                      for violations of our policies or for compliance reasons, including collecting tax
                                                                      reporting information. When payments are delayed or blocked we try to
                                                                      communicate the reason to you promptly. If you have questions about a payments
                                                                      block, please reach out to us. In order to protect creators, we may block patrons’
                                                                      payments if we believe them to be fraudulent.

                                                                      Sometimes activities like refunds can put your account balance into the negative. If
                                                                      your balance becomes negative then we reserve the right to recover those funds
                                                                      from future payments.


                                                                      Fees

                                                                      As a creator there are two fees associated with your membership on Patreon. The
                                                                      Irst is the platform fee, which varies depending on the level of service you select.
                                                                      The second is the payment processing fee, which is dependent on the currency
                                                                      selected by the creator.


                                                                               The payment processing fee in U.S. Dollars is 2.9% plus $0.30 per successful
                                                                               pledge for pledges over $3, and 5% plus $0.10 per successful pledge for
                                                                               pledges of $3 or less. PayPal payments from non-US patrons have an
                                                                               additional 1% fee. Founding creators have a legacy platform fee and the
                                                                               legacy payment processing rate. The legacy payment processing rate varies
                                                                               depending on a number of factors, including the membership subscription
                                                                               amount, card type and number of other memberships joined by a patron.
                                                                               The payment processing fee in Euros is 3.4% plus €0.35 per successful
                                                                               pledge for pledges over €3, and 5% plus €0.15 per successful pledge for
                                                                               pledges of €3 or less.
                                                                               The payment processing fee in British Pounds is 3.4% plus £0.35 per
                                                                               successful pledge for pledges over £3, and 5% plus £0.15 per successful
                                                                               pledge for pledges of £3 or less.


                                                                      You can see how much processing fees are for any membership subscription on
                                                                      your creator dashboard.

                                                                      Depending on your patrons’ locations, some banks may charge your patron a
                                                                      foreign transaction fee for their membership subscription. Patreon does not
                                                                      control this charge, but it is typically around 3%.


                                                                      Tax

                                                                      We collect tax identiIcation information and report this to tax authorities as legally
                                                                      required. You are responsible for reporting any income or withholding taxes which
                                                                      may be due as a result of payments received. You can learn more in our Tax Help
                                                                      Center.

                                                                      We are additionally responsible for a number of transactional taxes across the
                                                                      world. These include but are not limited to VAT on payments for electronically
                                                                      supplied services to patrons in the EU, GST as an operator of an electronic
                                                                      distribution platform (EDP) within Australia, and state sales tax as a result of
                                                                      ‘marketplace laws’ within the United States. For the purpose of electronically-
                                                                      supplied services, creators make a supply of those services to us, and then we
                                                                      supply them to the patron. To learn more about how we handle transaction taxes,
                                                                      please check our VAT guide.

                                                                      In locales where Patreon is required to collect transaction tax from patrons,
                                                                      pledges processed from patrons will regect the tier or custom pledge amount plus
                                                                      the applicable tax. Applicable tax will not be taken from a pledge, but rather will be
                                                                      charged in addition to the pledge. Once settled, the tax amount will be
                                                                      automatically deducted for remittance to the applicable taxing authority. A record
                                                                      of the transaction tax portion of the pledge will be available on your earnings
                                                                      details page.

                                                                      As a creator on our site, it is your responsibility to provide accurate information
                                                                      when you are engaging with the sales tax weighting tool and, generally, when listing
                                                                      beneIts transferred within your tiers.


                                                                      Restrictions

                                                                      We don’t allow creations and beneIts that violate our policies. You can learn more
                                                                      by visiting our Community Guidelines and BeneIt Guidelines. A summary of those
                                                                      rules is that we don’t allow:


                                                                               Illegal creations or beneIts.
                                                                               Creations or beneIts that are abusive towards other people.
                                                                               Creations or beneIts that use others' intellectual property, unless you have
                                                                               written permission to use it, or your use is protected by fair use.
                                                                               Creations or beneIts with real people engaging in sexual acts.
                                                                               BeneIts that involve raies or prizes based on chance.


                                                                      If your fans include people under the age of 18, then please remind them that they
                                                                      need permission to join your membership, and those under the age of 13 cannot
                                                                      use Patreon. We are not required to allow any particular person or group of
                                                                      persons to be your patron.

                                                                      As a creator you are also responsible for keeping patron data safe. You can see
                                                                      what is required in our Data Processing Agreement.

                                                                      An account is tied to your creative output and cannot be sold or transferred for
                                                                      use by another creator.




                                                                      All about being a patron
                                                                      TLDR: A patron is someone who joins a creator’s membership
                                                                      on Patreon. Depending on the creator’s preference, you will
                                                                      be charged either a set amount per month or per creation. You
                                                                      can cancel your membership subscription at any time.
                                                                      To become a patron simply create an account, add your preferred payment
                                                                      method and join a creator’s membership!

                                                                      There are three types of membership subscriptions. One is a monthly subscription
                                                                      where you pay per month. The second is a per creation subscription where you pay
                                                                      based on the number of creations a creator posts in that month. You can set a limit
                                                                      on the number of creations you pay for in a single month under the per
                                                                      subscription model. The third membership option is an annual membership, where
                                                                      you pay for a year of access up front, at a discounted rate. Not all oQerings allow
                                                                      for all three subscription types. Your options will be presented to you in the
                                                                      payment gow.

                                                                      The timing and amount of each membership subscription depends on the type of
                                                                      membership agreement you enter into, and the creator you support. You can see
                                                                      the details as you join, as well as in the receipt sent to you after each successful
                                                                      payment. You can view all your active membership subscriptions and billing history
                                                                      on your membership page.

                                                                      You may cancel or lower the annual membership payments at any time.
                                                                      Terminating or lowering the tier support of an annual membership will go into
                                                                      eQect in the subsequent (not current) payment term. Increasing your payment to a
                                                                      higher tier level in an annual membership will go into eQect in the current payment
                                                                      term. When you increase your payment for an annual membership during the term,
                                                                      you will get a credit for any payment already made in that term.

                                                                      For monthly or per creation payments, canceling your support may result in your
                                                                      loss of access to a creator’s patron-only posts and beneIts.

                                                                      These include when you cancel your membership subscription, your payment
                                                                      method fails, the creator blocks you, or the creator deletes their account. We are
                                                                      not required to allow you to be a patron of any particular creator.

                                                                      Creators’ memberships vary and we have limited control over the quality and
                                                                      speciIc oQerings. We attempt to screen for fraudulent creator pages, but cannot
                                                                      guarantee the identity of creators or the validity of any claims they make. We
                                                                      appreciate your help reporting suspicious creator pages so we can keep Patreon
                                                                      safe.

                                                                      If you are located in the jurisdiction in which Patreon is required to charge and
                                                                      collect tax (e.g. VAT or, sales tax), then this tax is added to the total charge. Except
                                                                      in limited circumstances, this tax is shown when you set up the initial membership
                                                                      subscription. Patreon remits all tax collected to the applicable taxing authority. As
                                                                      tax is largely dependant on your location, you are responsible for keeping your
                                                                      address complete and up to date.

                                                                      Depending on your location, some banks may charge you a foreign transaction fee
                                                                      for your membership subscription. Patreon does not control this charge, but it is
                                                                      typically around 3%. Please contact your bank for more information.

                                                                      Refunds. Our policy is No Refunds, though we will allow for some exceptions where
                                                                      refunds are granted in our sole discretion.




                                                                      Patreon’s role
                                                                      TLDR: We proactively look at some pages and posts on
                                                                      Patreon and review reported pages to identify potential
                                                                      violations of our guidelines.
                                                                      We proactively look at some pages and posts on Patreon to make sure creators
                                                                      follow our Community Guidelines and BeneIt Guidelines. We also investigate
                                                                      reports of potential violations. These investigations may take a while to resolve
                                                                      and may include looking at what is supported by funds received through Patreon.

                                                                      In most situations we will work with creators to resolve any potential violations and
                                                                      allow the creator to continue using Patreon. Terminating accounts is not an action
                                                                      we take lightly and is done in only the most extreme cases.

                                                                      Please let us know if you see potential violations of our Community Guidelines. You
                                                                      can learn how to report them here.

                                                                      As a global company based in the United States with operations in other countries,
                                                                      we must comply with economic sanctions and trade restrictions, including those
                                                                      implemented by the Omce of Foreign Assets Control ("OFAC") of the U.S.
                                                                      Department of the Treasury. This means that Patreon cannot take part in
                                                                      transactions that involve designated people, places, or items that originate from
                                                                      those places, as determined by agencies like OFAC. You can read our Sanctions
                                                                      Policy here.

                                                                      We are constantly testing out new features with the goal of making Patreon better.
                                                                      We may add or remove features, and often test features with a random subset of
                                                                      our community. If we believe a feature is signiIcantly diQerent from these terms,
                                                                      then we explain those diQerences in the test.

                                                                      With your permission, we may give other websites or services the ability to verify
                                                                      information about your Patreon account or perform actions on your behalf. This
                                                                      permission is asked for when you connect your Patreon account to these other
                                                                      websites or services. You can learn more in our Privacy Policy.




                                                                      Account deletion
                                                                      TLDR: You can delete your account here. We can disable your
                                                                      account at our discretion.
                                                                      You can permanently delete your account at any time by going to our Privacy
                                                                      Center. On that page you can also see what information is deleted and what we
                                                                      continue to store after the account is deleted.

                                                                      We can terminate or suspend your account at any time at our discretion. We can
                                                                      also cancel any membership subscriptions and remove any descriptions, posts or
                                                                      beneIts at our discretion.

                                                                      You may not bring a claim against us for suspending or terminating another
                                                                      person’s account, and you agree you will not bring such a claim. If you try to bring
                                                                      such a claim, you are responsible for the damages caused, including attorneys
                                                                      fees and costs.

                                                                      These terms remain in eQect even if you no longer have an account.




                                                                      Your creations
                                                                      TLDR: You keep complete ownership of all creations, but you
                                                                      give us permission to use them on Patreon. Make sure you
                                                                      have permission to use creations that you oDer on Patreon.
                                                                      You keep full ownership of all creations that you oQer on Patreon, but we need
                                                                      licenses from you to operate Patreon eQectively.

                                                                      By posting creations on Patreon you grant us a royalty-free, perpetual, irrevocable,
                                                                      non-exclusive, sublicensable, worldwide license to use, reproduce, distribute,
                                                                      perform, publicly display or prepare derivative works of your creation. The purpose
                                                                      of this license is strictly limited to allow us to provide and promote memberships to
                                                                      your patrons. We will never try to steal your creations or use them in an exploitative
                                                                      way.

                                                                      You may not post creations that infringe others' intellectual property or proprietary
                                                                      rights.

                                                                      Patrons may not use creations posted by creators in any way not authorized by the
                                                                      creator.




                                                                      Your third-party apps
                                                                      TLDR: You may grant Patreon permission to access third-
                                                                      party apps. You may also revoke that permission.
                                                                      You may grant Patreon access to your third-party accounts, such as Google,
                                                                      YouTube, Facebook, Instagram, Twitter, and Twitch, in order for some Patreon
                                                                      features to operate. Each time you connect your third-party account, that third-
                                                                      party account will present a page that describes the information that Patreon can
                                                                      access.

                                                                      At any time, you can revoke Patreon’s access to those accounts using the
                                                                      respective third party’s security settings page.

                                                                      These are the links for each service:

                                                                      Google          Terms of Service        Privacy Policy        Revoke Patreon's Access
                                                                      YouTube         Terms of Service        Privacy Policy        Revoke Patreon's Access
                                                                      Facebook        Terms of Service        Privacy Policy        Revoke Patreon's Access
                                                                      Instagram       Terms of Service        Privacy Policy        Revoke Patreon's Access
                                                                      Twitter         Terms of Service        Privacy Policy        Revoke Patreon's Access
                                                                      Twitch          Terms of Service        Privacy Policy        Revoke Patreon's Access




                                                                      Patreon’s creations
                                                                      TLDR: You can use our copyrights or trademarks to promote
                                                                      your Patreon page, but can’t use them for anything else
                                                                      without our permission.
                                                                      Our creations are protected by copyright, trademark and trade secret laws. Some
                                                                      examples of our creations are the text on the site, our logo, and our codebase. We
                                                                      grant you a license to use our logo and other copyrights or trademarks to promote
                                                                      your Patreon page. You can learn more about the correct use of our logo in our
                                                                      Brand Guidelines.

                                                                      You may not otherwise use, reproduce, distribute, perform, publicly display or
                                                                      prepare derivative works of our creations unless we give you permission in writing.
                                                                      Please ask if you have any questions.




                                                                      Indemnity
                                                                      TLDR: If we are sued because of your use of or conduct on
                                                                      Patreon, you have to help pay for it.
                                                                      You will indemnify us from all losses and liabilities, including legal fees, that arise
                                                                      from these terms or relate to your use of Patreon. We reserve the right to exclusive
                                                                      control over the defense of a claim covered by this clause. If we use this right then
                                                                      you will help us in our defense.

                                                                      Your obligation to indemnify under this clause also applies to our subsidiaries,
                                                                      amliates, omcers, directors, employees, agents and third party service providers.




                                                                      Warranty disclaimer
                                                                      TLDR: We do our best to make sure Patreon works as
                                                                      expected, but stuD happens.
                                                                      Patreon is provided “as is” and without warranty of any kind. Any warranty of
                                                                      merchantability, Ktness for a particular purpose, non-infringement, and any
                                                                      other warranty is excluded to the greatest extent permitted by law.

                                                                      The disclaimers of warranty under this clause also apply to our subsidiaries,
                                                                      aMliates and third party service providers.




                                                                      Limit of liability
                                                                      TLDR: If you lose money as a result of using Patreon, any
                                                                      payment to you is limited to the amount of money we have
                                                                      earned through your use of Patreon.
                                                                      To the extent permitted by law, we are not liable to you for any incidental,
                                                                      consequential or punitive damages arising out of these terms, or your use or
                                                                      attempted use of Patreon. To the extent permitted by law, our liability for
                                                                      damages is limited to the amount of money we have earned through your use
                                                                      of Patreon. We are speciKcally not liable for loss associated with unfulKlled
                                                                      beneKts and from losses caused by conOicting contractual agreements.

                                                                      For this clause “we” and “our” is deKned to include our subsidiaries, aMliates,
                                                                      oMcers, directors, employees, agents and third party service providers.




                                                                      Dispute resolution
                                                                      TLDR: If you have a problem please talk to us, but you are
                                                                      limited in how you can resolve disputes. You waive your right
                                                                      to trial by jury and your right to participate in a class action
                                                                      proceeding.
                                                                      We encourage you to contact us if you have an issue. If a dispute does arise out of
                                                                      these terms or related to your use of Patreon, and it cannot be resolved after you
                                                                      talk with us, then it must be resolved by arbitration. This arbitration must be
                                                                      administered by JAMS under the JAMS Streamlined Arbitration Rules and
                                                                      Procedures, except as expressly provided below. Judgment on the arbitration may
                                                                      be entered in any court with jurisdiction. Arbitrations may only take place on an
                                                                      individual basis. No class arbitrations or other other grouping of parties is allowed.
                                                                      By agreeing to these terms you are waiving your right to trial by jury or to
                                                                      participate in a class action or representative proceeding; we are also waiving
                                                                      these rights.

                                                                      For creators and patrons who are consumers, we also follow the JAMS Policy on
                                                                      Consumer Arbitrations Pursuant to Pre-Dispute Clauses Minimum Standards of
                                                                      Procedural Fairness for consumer arbitrations done under these terms. For the
                                                                      purpose of an arbitration subject to the consumer standards, if any portion of
                                                                      these terms do not follow that standard, that portion is severed from these terms.

                                                                      This clause does not limit either party’s ability to Ile an action in a court with
                                                                      jurisdiction to seek injunctive or other equitable relief for disputes relating to
                                                                      intellectual property, proprietary data or to enforce this dispute resolution clause,
                                                                      including your agreement not to assert claims related to the suspension or
                                                                      termination of another person’s account. In any such action, the court rather than
                                                                      an arbitrator must decide whether such a claim is arbitrable and must decide
                                                                      whether the party is entitled to the requested injunctive or other equitable relief.




                                                                      Governing law
                                                                      TLDR: Any disputes with us must be resolved in San Francisco
                                                                      under California law.
                                                                      California law, excluding its congict of law provisions, governs these terms and all
                                                                      other Patreon policies. If a lawsuit does arise, both parties consent to the exclusive
                                                                      jurisdiction and venue of the courts located in San Francisco, California.




                                                                      Everything else
                                                                      TLDR: These terms are the Pnal word on Patreon’s policies
                                                                      and we will tell you if we change them.
                                                                      These terms and any referenced policies are the entire agreement between you
                                                                      and us, and supersede all prior agreements. If any provision of these terms is held
                                                                      to be unenforceable, then that provision is modiIed to the extent necessary to
                                                                      enforce it. If a provision cannot be modiIed, it is severed from these terms, and all
                                                                      other provisions remain in force. If either party fails to enforce a right provided by
                                                                      these terms, it does not waive the ability to enforce any rights in the future.

                                                                      We may sometimes make changes to these terms and policies. If we make material
                                                                      changes that adversely aQect your rights, then we will let you know before the
                                                                      changes come into eQect. Continuing to use Patreon after a change means you
                                                                      accept the new terms or policies.

                                                                      If you are not in the European Union, then these terms are an agreement with
                                                                      Patreon, Inc., 600 Townsend Street Suite 500, San Francisco, CA. If you are located
                                                                      in the EU, then these terms are an agreement with Patreon Ireland Limited, Suite 3,
                                                                      One Earlsfort Centre, Lower Hatch Street, Dublin 2L, Ireland.

                                                                      If you use accessibility tools and have questions or concerns, please contact us at
                                                                      accessibility@patreon.com.

                                                                      EQective immediately for users on Patreon from July 1, 2020. You can Ind the old
                                                                      terms of use here.




                                                                     PRODUCT                      FOR CRE ATORS                 RESOURCES               COMPANY


                     Language: English                               Lite                         Podcasters                    Blog                    About
                                                                     Pro                          Video Creators                Patreon U               Press
                         United States                               Premium                      Musicians                     Help Center & FAQ       Careers
                                                                     Pricing                      Visual Artists                App Directory           Privacy

                     Currency: USD                                                                Writers & Journalists         Developers              Policy & Terms
                                                                                                  Communities                                           Accessibility
                                                                                                  Gaming Creators                                       Impressum
                                                                                                  Nonpro<ts
                                                                                                  Tutorials and Education
                                                                                                  Local Businesses
                                                                                                  Creators-of-all-kinds




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                   600 Townsend Street, Suite 500
                   San Francisco, CA 94103
                   USA
                   Phone: +1 (833) 972-8766
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      EXHIBIT 6
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                                                                       Find a creator Starter Kits             Log In         Create




                                                      Terms of use
                                                      Patreon is a membership platform that enables
                                                      creators to be paid by their fans. One of our core
                                                      behaviors is to put creators =rst, and these terms
                                                      attempt to do that. We know that most people
                                                      skim through terms of use because they’re boring,
                                                      but we have done everything we can to make this
                                                      easy to get through. Above every section we’ll
                                                      summarize the most important parts, but these
                                                      summaries are not legally binding, so please look
                                                      at the full version of the text if you have questions.




        TOPICS                                        Welcome to Patreon!
        Welcome to Patreon!
                                                      To summarize: by using Patreon you
        Your account
                                                      agree to these terms.
        Abusive conduct

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        All about being a creator           These are Patreon’s terms of use, and they apply

        All about being a patron            to all users of the Patreon platform. “We,” “our” or
                                            “us” refers to Patreon Inc. and our subsidiaries.
        Patreon's role                      “Patreon” refers to this platform and the services
        Account deletion                    oOered by us. By using Patreon you agree to these
                                            terms and to the other policies we post. Please
        Your creations
                                            read them carefully and let us know if you have any
        Your third-party apps
                                            questions. For information about our data
        Patreon's creations                 practices, please see our Privacy Policy, including

        Indemnity                           our Cookie Policy. We can collect and use your
                                            information in accordance with those policies.
        Warranty disclaimer

        Limit of liability
        Dispute resolution

        Everything else                     Your account

        Back to Policy                      To summarize: You must be at least
                                            13 years old to register for an
                                            account. You are responsible for your
                                            account.
                                            When you create an account you must provide us
                                            with accurate information, in good faith, and you
                                            agree to keep your information updated if it
                                            changes. To create an account you must be at
                                            least 13 years old. To join a creator’s membership
                                            as a patron, or provide a membership as a creator,
                                            you must be at least 18 years old or have your
                                            parent’s permission. You are responsible for
                                            anything that occurs when anyone is signed in to
                                            your account, as well as the security of the
                                            account. Please contact us immediately if you
                                            believe your account is compromised. You can
                                            learn more about security on our Security

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                                            Policy page.




                                            Abusive conduct
                                            To summarize: Be responsible and
                                            don’t violate our policies.
                                            You are responsible for all activity on your
                                            account. If you violate our policies we may
                                            terminate your account. Don’t do anything illegal,
                                            abusive towards others, or that abuses our site in
                                            a technical way. If you are a creator raising funds
                                            on Patreon, we may be held accountable for what
                                            you do with those funds. As a result, we also look
                                            at what you do with your membership oO our
                                            platform. You can =nd more detailed information in
                                            the Community Guidelines and Security Policy.
                                            These policies cover most issues, but if you =nd a
                                            new and creative way to hurt Patreon or our
                                            community we may take action to prevent it.




                                            All about being a creator
                                            To summarize: A creator is someone
                                            who creates a membership page on
                                            Patreon to engage with patrons who
                                            have purchased memberships from
                                            Patreon to support the creator’s

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                                            creations. There are a lot of details
                                            below involving payments, fees, taxes
                                            and restrictions that you should read
                                            in full if you are a creator.

                                            Membership

                                            To become a creator, simply launch your page to
                                            start your membership. When you join Patreon,
                                            you become part of the Patreon community. You
                                            can use creator tools that Patreon provides,
                                            showcase your creations, provide merchandise to
                                            patrons through Patreon’s Merch service, and
                                            receive recurring revenue from your page.
                                            Memberships are for your most passionate fans.
                                            On Patreon, you can provide your patrons
                                            something exciting that gives them unique
                                            bene=ts they want, like additional access,
                                            merchandise, exclusivity, and engaging
                                            experiences. In turn, you will receive loyal support
                                            from your patrons, and recurring revenue from
                                            memberships that patrons have purchased from
                                            Patreon.


                                            Payments

                                            As a creator you make your membership available
                                            on Patreon, and we provide membership to your
                                            patrons on a subscription basis. We also handle
                                            payments issues such as fraud, chargebacks and
                                            resolution of payments disputes. We try to provide
                                            timely access to your funds, but you may
                                            occasionally experience delays in accessing your
                                            funds. We may also block or hold payments for

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                                            violations of our policies or for compliance
                                            reasons, including collecting tax reporting
                                            information. When payments are delayed or
                                            blocked we try to communicate the reason to you
                                            promptly. If you have questions about a payments
                                            block, please reach out to us. In order to protect
                                            creators, we may block patrons’ payments if we
                                            believe them to be fraudulent. Sometimes
                                            activities like refunds can put your account
                                            balance into the negative. If your balance
                                            becomes negative then we reserve the right to
                                            recover those funds from future payments. If you
                                            are a creator of 18+ content, to comply with
                                            payment processing rules you must verify that
                                            participants in your content are the age of
                                            majority, and you must store their consent to
                                            participate. A consent form template is located in
                                            our Help Center, where you may get additional
                                            information about these requirements.


                                            Fees

                                            As a creator there are two fees associated with
                                            your membership on Patreon. The =rst is the
                                            platform fee, which varies depending on the level
                                            of service you select. The second is the payment
                                            processing fee, which is dependent on the
                                            currency selected by the creator.

                                                   The payment processing fee in US
                                                   Dollars is 2.9% plus $0.30 per successful
                                                   pledge for pledges over $3, and 5% fee
                                                   plus $0.10 per successful pledge for
                                                   pledges of $3 or less.PayPal payments from
                                                   non-US patrons have an
                                                   additional 1% fee. Founding creators have a

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                                                 legacy platform fee and the legacy payment
                                                 processing rate. The legacy payment
                                                 processing rate varies depending on a
                                                 number of factors, including the membership
                                                 subscription amount, card type and number
                                                 of other memberships joined by a patron.
                                                 The payment processing fee
                                                 in Euro is 3.4% plus €0.35 per successful
                                                 pledge for pledges over €3, and 5% fee
                                                 plus €0.15 per successful pledge for
                                                 pledges of €3 or less.
                                                 The payment processing fee in British
                                                 Pounds is 3.4% plus £0.35 per successful
                                                 pledge for pledges over £3, and 5% fee
                                                 plus £0.15 per successful pledge for
                                                 pledges of £3 or less.
                                                 The payment processing fee in Canadian
                                                 Dollars is 3.2% plus CA$0.35 per successful
                                                 pledge for pledges over CA$3, and 5% fee
                                                 plus CA$0.10 per successful pledge for
                                                 pledges of CA$3 or less.
                                                 The payment processing fee in Australian
                                                 Dollars is 3.0% plus AU$0.30 per successful
                                                 pledge for pledges over AU$3, and 5% fee
                                                 plus AU$0.10 per successful pledge for
                                                 pledges of AU$3 or less.

                                            You can see how much processing fees are for
                                            any membership subscription on your creator
                                            dashboard.
                                            Depending on your patrons’ locations, some
                                            banks may charge your patron a foreign
                                            transaction fee for their membership subscription.
                                            Patreon does not control this charge, but it is
                                            typically around 3.0% .


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                                            Tax

                                            We collect tax identi=cation information and
                                            report this to tax authorities as legally required.
                                            You are responsible for reporting any income or
                                            withholding taxes which may be due as a result of
                                            payments received. You can learn more in our Tax
                                            Help Center. We are additionally responsible for a
                                            number of transactional taxes across the world.
                                            These include but are not limited to VAT on
                                            payments for electronically supplied services to
                                            patrons in the EU, GST as an operator of an
                                            electronic distribution platform (EDP) within
                                            Australia, and state sales tax as a result of
                                            ‘marketplace laws’ within the United States. For
                                            the purpose of electronically-supplied services,
                                            creators make a supply of those services to us,
                                            and then we supply them to the patron. To learn
                                            more about how we handle transaction taxes,
                                            please check our VAT guide. In locales where
                                            Patreon is required to collect transaction tax from
                                            patrons, pledges processed from patrons will
                                            rehect the tier or custom pledge amount plus the
                                            applicable tax. Applicable tax will not be taken
                                            from a pledge, but rather will be charged in
                                            addition to the pledge. Once settled, the tax
                                            amount will be automatically deducted for
                                            remittance to the applicable taxing authority. A
                                            record of the transaction tax portion of the pledge
                                            will be available on your earnings details page. As
                                            a creator on our site, it is your responsibility to
                                            provide accurate information when you are
                                            engaging with the sales tax weighting tool and,
                                            generally, when listing bene=ts transferred within
                                            your tiers.


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                                            Restrictions

                                            We don’t allow creations and bene=ts that violate
                                            our policies. You can learn more by visiting
                                            our Community Guidelines and Bene=t Guidelines.
                                            A summary of those rules is that we don’t allow:

                                                 Illegal creations or bene=ts.
                                                 Creations or bene=ts that are abusive
                                                 towards other people.
                                                 Creations or bene=ts that use others’
                                                 intellectual property, unless you have written
                                                 permission to use it, or your use is protected
                                                 by fair use.
                                                 Creations or bene=ts with real people
                                                 engaging in sexual acts.
                                                 Bene=ts that involve rajes or prizes based
                                                 on chance.

                                            If your fans include people under the age of 18,
                                            then please remind them that they need
                                            permission to join your membership, and those
                                            under the age of 13 cannot use Patreon. We are
                                            not required to allow any particular person or
                                            group of persons to be your patron.
                                            As a creator you are also responsible for keeping
                                            patron data safe. You can see what is required in
                                            our Data Processing Agreement. An account is
                                            tied to your creative output and cannot be sold or
                                            transferred for use by another creator.




                                            All about being a patron
                                            To summarize: A patron is someone
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                                            who purchases memberships from
                                            Patreon to support their favorite
                                            creators’ creations. Through a paid
                                            membership on Patreon, patrons
                                            directly interact with creators they
                                            support, using tools supplied by
                                            Patreon, and through our platform
                                            have the opportunity to engage with a
                                            greater community of patrons and
                                            creators.
                                            As a patron, you’re joining Patreon to be part of an
                                            exciting movement to support a creator’s
                                            membership while you get special bene=ts, which
                                            may include access to your creator, merchandise
                                            (when oOered), exclusivity, and engaging
                                            experiences with the creator and patron
                                            community. In exchange, you pay Patreon for
                                            membership programs, on a subscription basis, to
                                            access and support creators you like.

                                            The timing and amount of each membership
                                            subscription depends on the type of membership
                                            agreement you enter into, and the creator you
                                            support. You can see the details as you join, as
                                            well as in the receipt sent to you after each
                                            successful payment. You can view all your active
                                            membership subscriptions and billing history on
                                            your membership page.

                                            To become a patron, simply create an account,
                                            add your preferred payment method, and join a
                                            membership program on Patreon to start


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                                            supporting your creator! There are three types of
                                            membership subscriptions. One is a monthly
                                            subscription where you pay per month. The
                                            second is a per creation subscription where you
                                            pay based on the number of creations a creator
                                            posts in that month. You can set a limit on the
                                            number of creations you pay for in a single month
                                            under the per subscription model. The third
                                            membership option is an annual membership,
                                            where you pay for a year of access up front, at a
                                            discounted rate. Not all oOerings allow for all three
                                            subscription types. Your options will be presented
                                            to you in the payment how.

                                            You may cancel your membership payments at
                                            any time. Annual memberships may be cancelled,
                                            or increased, but not lowered. Terminating or
                                            lowering the tier support of membership will go
                                            into eOect in the subsequent (not current)
                                            payment term, except for annual memberships
                                            which can be terminated or increased but not
                                            lowered. Increasing your payment to a higher tier
                                            level in an annual membership will go into eOect in
                                            the current payment term. When you increase
                                            your payment for an annual membership during
                                            the term, you will get a credit for any payment
                                            already made in that term.

                                            For monthly or per creation payments, canceling
                                            your support may result in your loss of access to a
                                            creator’s patron-only posts and bene=ts.

                                            These include when you cancel your membership
                                            subscription, your payment method fails, the
                                            creator blocks you, or the creator deletes their
                                            account. We are not required to allow you to be a


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                                            patron of any particular creator.

                                            Creators’ memberships vary and we have limited
                                            control over the quality and speci=c oOerings. We
                                            attempt to screen for fraudulent creator pages,
                                            but cannot guarantee the identity of creators or
                                            the validity of any claims they make. We
                                            appreciate your help reporting suspicious creator
                                            pages so we can keep Patreon safe.

                                            If you are located in the jurisdiction in which
                                            Patreon is required to charge and collect tax (e.g.
                                            VAT or, sales tax), then this tax is added to the total
                                            charge. Except in limited circumstances, this tax is
                                            shown when you set up the initial membership
                                            subscription. Patreon remits all tax collected to
                                            the applicable taxing authority. As tax is largely
                                            dependent on your location, you are responsible
                                            for keeping your address complete and up to date.

                                            Depending on your location, some banks may
                                            charge you a foreign transaction fee for your
                                            membership subscription. Patreon does not
                                            control this charge, but it is typically around 3% .
                                            Please contact your bank for more information.

                                            Refunds. Our policy is No Refunds, though we will
                                            allow for some exceptions where refunds are
                                            granted in our sole discretion.




                                            Patreon's role
                                            To summarize: We proactively look at

                                            some pages and posts on Patreon
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                                            some pages and posts on Patreon
                                            and review reported pages to identify
                                            potential violations of our guidelines.
                                            We proactively look at some pages and posts on
                                            Patreon to make sure creators follow
                                            our Community Guidelines and Bene=t Guidelines.
                                            We also investigate reports of potential violations.
                                            These investigations may take a while to resolve
                                            and may include looking at what is supported by
                                            funds received through Patreon.

                                            In most situations we will work with creators to
                                            resolve any potential violations and allow the
                                            creator to continue using Patreon. Terminating
                                            accounts is not an action we take lightly and is
                                            done in only the most extreme cases.

                                            Patreon reserves the right to remove a creator or
                                            patron from participating in annual memberships.
                                            Removal of the creator or patron from
                                            participation in annual memberships will prohibit
                                            the creator from accepting new annual payments,
                                            and prohibit the patron from making new annual
                                            payments, but will not result in an automatic
                                            removal of the creator or patron from the platform,
                                            unless there is an independent basis for their
                                            removal from the platform.

                                            Please let us know if you see potential violations
                                            of our Community Guidelines. You can learn how
                                            to report them here.

                                            As a global company based in the United States
                                            with operations in other countries, we must
                                            comply with economic sanctions and trade

                                            restrictions, including those implemented by the
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                                            Once of Foreign Assets Control (“OFAC”) of the
                                            U.S. Department of the Treasury. This means that
                                            Patreon cannot take part in transactions that
                                            involve designated people, places, or items that
                                            originate from those places, as determined by
                                            agencies like OFAC. You can read our Sanctions
                                            Policy here.

                                            We are constantly testing out new features with
                                            the goal of making Patreon better. We may add or
                                            remove features, and often test features with a
                                            random subset of our community. If we believe a
                                            feature is signi=cantly diOerent from these terms,
                                            then we explain those diOerences in the test.

                                            With your permission, we may give other websites
                                            or services the ability to verify information about
                                            your Patreon account or perform actions on your
                                            behalf. This permission is asked for when you
                                            connect your Patreon account to these other
                                            websites or services. You can learn more in
                                            our Privacy Policy.




                                            Account deletion
                                            To summarize: You can delete your
                                            account here. We can disable your
                                            account at our discretion.
                                            You can permanently delete your account at any
                                            time by going to our Privacy Center. On that page
                                            you can also see what information is deleted and

                                            what we continue to store after the account is
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                                            deleted. We can terminate or suspend your
                                            account at any time at our discretion. We can also
                                            cancel any membership subscriptions and remove
                                            any descriptions, posts or bene=ts at our
                                            discretion. You may not bring a claim against us
                                            for suspending or terminating another person’s
                                            account, and you agree you will not bring such a
                                            claim. If you try to bring such a claim, you are
                                            responsible for the damages caused, including
                                            attorneys fees and costs. These terms remain in
                                            eOect even if you no longer have an account.




                                            Your creations
                                            To summarize: You keep complete
                                            ownership of all creations, but you
                                            give us permission to use them on
                                            Patreon. Make sure you have
                                            permission to use creations that you
                                            oGer on Patreon.
                                            You keep full ownership of all creations that you
                                            oOer on Patreon, but we need licenses from you to
                                            operate Patreon eOectively. By posting creations
                                            on Patreon you grant us a royalty-free, perpetual,
                                            irrevocable, non-exclusive, sublicensable,
                                            worldwide license to use, reproduce, distribute,
                                            perform, publicly display or prepare derivative
                                            works of your creation. The purpose of this license
                                            is strictly limited to allow us to provide and

                                            promote memberships to your patrons. We will
                                            never try to steal your creations or use them in an
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                                            never try to steal your creations or use them in an
                                            exploitative way. You may not post creations that
                                            infringe others’ intellectual property or proprietary
                                            rights. We may ask you for consent veri=cation for
                                            collaborators depicted in content funded through
                                            Patreon. Patrons may not use creations posted by
                                            creators in any way not authorized by the creator.




                                            Your third-party apps
                                            To summarize: You may grant Patreon
                                            permission to access third-party
                                            apps. You may also revoke that
                                            permission.
                                            You may grant Patreon access to your third-party
                                            accounts, such as Google, YouTube, Facebook,
                                            Instagram, Twitter, and Twitch, in order for some
                                            Patreon features to operate. Each time you
                                            connect your third-party account, that third-party
                                            account will present a page that describes the
                                            information that Patreon can access. At any time,
                                            you can revoke Patreon’s access to those
                                            accounts using the respective third party’s
                                            security settings page. These are the links for
                                            each service:
                                                      Terms of     Privacy    Revoke Patreon’s
                                            Google
                                                      Service      Policy     Access
                                                      Terms of     Privacy    Revoke Patreon’s
                                            YouTube
                                                      Service      Policy     Access
                                                      Terms of     Privacy    Revoke Patreon’s

                                            Facebook Service       Policy     Access
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                                                        Service     Policy    Access

                                                        Terms of    Privacy   Revoke Patreon’s
                                            Instagram
                                                        Service     Policy    Access
                                                        Terms of    Privacy   Revoke Patreon’s
                                            Twitter
                                                        Service     Policy    Access
                                                        Terms of    Privacy   Revoke Patreon’s
                                            Twitch
                                                        Service     Policy    Access




                                            Patreon's creations
                                            To summarize: You can use our
                                            copyrights or trademarks to promote
                                            your Patreon page, but can’t use them
                                            for anything else without our
                                            permission.
                                            Our creations are protected by copyright,
                                            trademark and trade secret laws. Some examples
                                            of our creations are the text on the site, our logo,
                                            and our codebase. We grant you a license to use
                                            our logo and other copyrights or trademarks to
                                            promote your Patreon page. You can learn more
                                            about the correct use of our logo in our Brand
                                            Guidelines. You may not otherwise use, reproduce,
                                            distribute, perform, publicly display or prepare
                                            derivative works of our creations unless we give
                                            you permission in writing. Please ask if you have
                                            any questions.




                                            Indemnity
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                                            Indemnity
                                            To summarize: If we are sued because
                                            of your use of or conduct on Patreon,
                                            you have to help pay for it.
                                            You will indemnify us from all losses and liabilities,
                                            including legal fees, that arise from these terms or
                                            relate to your use of Patreon. We reserve the right
                                            to exclusive control over the defense of a claim
                                            covered by this clause. If we use this right then
                                            you will help us in our defense. Your obligation to
                                            indemnify under this clause also applies to our
                                            subsidiaries, anliates, oncers, directors,
                                            employees, agents and third party service
                                            providers.




                                            Warranty disclaimer
                                            To summarize: We do our best to
                                            make sure Patreon works as
                                            expected, but stuG happens.
                                            Patreon is provided “as is” and without warranty
                                            of any kind. Any warranty of merchantability,
                                            Etness for a particular purpose, non-
                                            infringement, and any other warranty is
                                            excluded to the greatest extent permitted by
                                            law. The disclaimers of warranty under this
                                            clause also apply to our subsidiaries, aIliates
                                            and third party service providers.




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                                            Limit of liability
                                            To summarize: If you lose money as a
                                            result of using Patreon, any payment
                                            to you is limited to the amount of
                                            money we have earned through your
                                            use of Patreon.
                                            To the extent permitted by law, we are not liable
                                            to you for any incidental, consequential or
                                            punitive damages arising out of these terms, or
                                            your use or attempted use of Patreon. To the
                                            extent permitted by law, our liability for
                                            damages is limited to the amount of money we
                                            have earned through your use of Patreon. We
                                            are speciEcally not liable for loss associated
                                            with unfulElled beneEts and from losses caused
                                            by conKicting contractual agreements. For this
                                            clause “we” and “our” is deEned to include our
                                            subsidiaries, aIliates, oIcers, directors,
                                            employees, agents and third party service
                                            providers.




                                            Dispute resolution
                                            To summarize: If you have a problem
                                            please talk to us. Any disputes with us
                                            must be resolved in San Francisco
                                            under California law.

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                                            We encourage you to contact us if you have an
                                            issue. If a dispute does arise out of these terms or
                                            in relation to your use of Patreon, then the dispute
                                            will be resolved in the federal or state courts
                                            located in San Francisco, California. Both parties
                                            consent to the exclusive jurisdiction and venue of
                                            the San Francisco courts for the purpose of
                                            resolving any such dispute. California law,
                                            excluding its conhict of law provisions, governs
                                            these terms, all other Patreon policies, and any
                                            dispute that arises between you and Patreon.




                                            Everything else
                                            To summarize: These terms are the
                                            Mnal word on Patreon’s policies and
                                            we will tell you if we change them.
                                            These terms and any referenced policies are the
                                            entire agreement between you and us, and
                                            supersede all prior agreements. If any provision of
                                            these terms is held to be unenforceable, then that
                                            provision is modi=ed to the extent necessary to
                                            enforce it. If a provision cannot be modi=ed, it is
                                            severed from these terms, and all other provisions
                                            remain in force. If either party fails to enforce a
                                            right provided by these terms, it does not waive
                                            the ability to enforce any rights in the future. We
                                            may sometimes make changes to these terms and
                                            policies. If we make material changes that
                                            adversely aOect your rights, then we will let you
                                            know before the changes come into eOect.
                                            Continuing to use Patreon after a change means
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                                            Continuing to use Patreon after a change means
                                            you accept the new terms or policies. These terms
                                            are an agreement with Patreon, Inc., 600
                                            Townsend Street Suite 500, San Francisco, CA. If
                                            you use accessibility tools and have questions or
                                            concerns, please contact us
                                            at accessibility@patreon.com. EOective
                                            immediately for users on Patreon from October
                                            15th, 2021 You can =nd the old terms of use here.




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                                             P RODUCT        F O R C R E ATORS   R E S O URC E S   CO M PANY


    Language:                                Lite            Podcasters          Blog              About
       English
                                             Pro             Video Creators      Patreon U         Press
       (United
                                             Premium         Musicians           Creator           Careers
       States)                                                                   Community
                                             Pricing         Visual Artists                        Privacy
                                                             Writers &           Help Center &     Policy & Terms
         United                                              Journalists         FAQ
                                                                                                   Privacy
        States                                               Communities         App Directory     Preferences
                                                             Gaming              Developers        Accessibility
     Currency:                                               Creators                              Impressum
       USD Privacy
      Your                                                   Nonpro<ts
                                                             Tutorials and
       Patreon determines the use of personal data           Education
       collected on our media properties and across the
                                                             Local
       internet. We may collect data that you submit to
                                                             Businesses
       us directly or data that we collect automatically
       including from cookies (such as device                Creators-of-all-
       information or IP address). Please read our           kinds
       Privacy Policy to learn about our privacy practices
       or click "Your Preferences" to exercise control
       over your data.


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USA
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